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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                )
REPUBLICAN NATIONAL                             )
COMMITTEE,                                      )
                                                )
                Plaintiff,                      )
                                                )
       v.                                       )       Case No. 1:22-cv-00659-TJK
                                                )
NANCY PELOSI, et al.,                           )
                                                )
                Defendants.                     )
                                                )


                       [PROPOSED] ORDER GRANTING PLAINTIFF’S
                         MOTION FOR PRELIMINARY INJUNCTION
       Upon consideration of Plaintiff’s Motion for Preliminary Injunction and the

Memorandum of Law, declaration, and materials filed in support thereof, it is hereby

       ORDERED that Plaintiff’s Motion for Preliminary Injunction is GRANTED.

       a. Salesforce shall be enjoined from producing under the Salesforce Subpoena

             performance metrics and analytics related to email campaigns by or on behalf of

             Donald Trump for President, Inc., the Republican National Committee, or the Trump

             Make America Great Again Committee, including but not limited to delivery metrics

             (send rates and bounce rates), engagement metrics (opens, open rates, click rates, and

             click-to-open rates), time attributes, and message attributes.

       b. Salesforce shall be enjoined from producing under the Salesforce Subpoena records

             related to (i) login sessions by individuals associated with Donald Trump for

             President, Inc. or (ii) the Republican National Committee into Salesforce’s

             Marketing Cloud platform, including all related metadata.

       c. Salesforce shall be enjoined from producing under the Salesforce Subpoena

             communications between Salesforce representatives and representatives of the

             Republican National Committee or Donald Trump for President, Inc. concerning (i)

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   the 2020 Presidential election, (ii) the continued use of Salesforce’s platforms by the

   Republican National Committee or Donald Trump for President, Inc., (iii) the

   protests, marches, public assemblies, rallies, or speeches in Washington, D.C. on

   January 5, 2021, or January 6, 2021, or (iv) any of the facts and circumstances of the

   topics that are the subject in subparagraphs a or b.

d. Salesforce shall be enjoined from producing under the Salesforce Subpoena

   documents and communications concerning (i) investigative reports or analyses

   conducted by Salesforce regarding the protests, marches, public assemblies, rallies,
   or speeches in Washington, D.C. on January 5, 2021, or January 6, 2021, or (ii)

   investigative reports or analyses conducted by Salesforce regarding the use of

   Salesforce’s platforms by the Republican National Committee or Donald Trump for

   President, Inc. and related materials, prior to producing any such responsive

   documents and communications to Plaintiff for review by Plaintiff’s counsel

   only. Plaintiff’s counsel shall have 14 days from the date of any such production to

   complete its review. If, after review by Plaintiff’s counsel of the proposed

   production, Plaintiff agrees the documents and communications are not subject to the

   preliminary injunction in subparagraphs a–c of the Court’s Order, the documents and

   communications shall be produced to Defendants. That said, if, after Plaintiff’s

   counsel reviews the proposed production, Plaintiff believes the documents and

   communications are subject to the preliminary injunction in subparagraphs a–c of the

   Court’s Order, Plaintiff shall file a motion no later than two days after competition of

   its counsel’s review, for in camera review. After in camera review, the Court will

   decide whether the documents and communications should be produced to

   Defendants under the Salesforce Subpoena.




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SO ORDERED this ____ day of ________



                                     Hon. Timothy J. Kelly




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